Case MDL No. 3089 Document 1-15 Filed 09/18/23 Page 1 of 37




EXHIBIT L
            Case MDL No. 3089 Document 1-15 Filed 09/18/23 Page 2 of 37




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                          United States District Court
       Northern District of Illinois - CM/ECF NextGen 1.7.1.1 (Chicago)
               CIVIL DOCKET FOR CASE #: 1:23-cv-13796


Tuominen v. Johnson & Johnson Consumer, Inc.               Date Filed: 09/15/2023
Assigned to:                                               Jury Demand: Plaintiff
Demand: $9,999,000                                         Nature of Suit: 370 Other Fraud
Cause: 28:1332 Diversity-Account Receivable                Jurisdiction: Diversity
Plaintiff
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        Case MDL No. 3089 Document 1-15 Filed 09/18/23 Page 3 of 37




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V.
Defendant
Johnson & Johnson Consumer,
Inc.


Date Filed   # Docket Text
09/15/2023   1 COMPLAINT filed by Tina Tuominen; Jury Demand. Filing fee $ 402,
               receipt number AILNDC-21085911.(Klinger, Gary) (Entered: 09/15/2023)
09/15/2023   2 CIVIL Cover Sheet (Klinger, Gary) (Entered: 09/15/2023)
09/15/2023   3 ATTORNEY Appearance for Plaintiff Tina Tuominen by Nick Suciu, III
               (Suciu, Nick) (Entered: 09/15/2023)
09/15/2023   4 ATTORNEY Appearance for Plaintiff Tina Tuominen by Erin J. Ruben
               (Ruben, Erin) (Entered: 09/15/2023)
09/15/2023   5 ATTORNEY Appearance for Plaintiff Tina Tuominen by John Hunter
               Bryson (Bryson, John) (Entered: 09/15/2023)



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                                      09/18/2023 17:34:40
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     Case:
        Case
           1:23-cv-13796
              MDL No. 3089
                         Document
                             Document
                                  #: 1 Filed:
                                       1-15 09/15/23
                                              Filed 09/18/23
                                                       Page 1 Page
                                                              of 34 PageID
                                                                    4 of 37 #:1




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS




 TINA TUOMINEN, on behalf of herself
 and all others similarly situated,
                                                      Civil Action No. _______________________
                 Plaintiff,
                                                      CLASS ACTION COMPLAINT                  AND
            v.                                        COMPLAINT FOR DAMAGES

 JOHNSON & JOHNSON CONSUMER,                          Jury Trial Demanded
 INC..

                 Defendant.



       Plaintiff, Tina Tuominen, on behalf of herself and all others similarly situated, brings this

class action against Defendant, Johnson & Jonhson Consumer, Inc. (“Defendant” or “J&J”), and

alleges on personal knowledge, investigation of her counsel, and on information and belief as

follows:

                                   GENERAL ALLEGATIONS

       1.        J&J offers a variety of non-prescription drugs, including oral nasal decongestants,

competing in a billion-dollar industry. Two such products are the over-the-counter oral nasal

decongestants “Sudafed PE: Sinus Pressure + Pain” and “Sudafed PE: Sinus Congestion” products

(collectively, “Sudafed PE” or “Products”). While J&J has a number of other Sudafed branded

products, the Products are the only phenylephrine hydrochloride nasal decongestants marketed as

“Maximum Strength” relief for “Sinus Pressure” and “Sinus Congestion.”

       2.        Sudafed PE’s “effective” ingredient is phenylephrine hydrochloride, which the

weight of the reliable scientific evidence, as recently unanimously confirmed by a Food and Drug

                                                  1
      Case:
         Case
            1:23-cv-13796
               MDL No. 3089
                          Document
                              Document
                                   #: 1 Filed:
                                        1-15 09/15/23
                                               Filed 09/18/23
                                                        Page 2 Page
                                                               of 34 PageID
                                                                     5 of 37 #:2




Administration (“FDA”) committee, has determined to be no more effective as a nasal

decongestant than a placebo.

       3.      When consumers purchase decongestants, the strength and effectiveness of the

ingredient is a material purchasing consideration, especially for consumers seeking a “maximum

strength” product.

       4.      J&J takes advantage of this consumer preference for strong relief by prominently

representing the alleged strength of Sudafed PE in the one place every consumer looks when

purchasing a product—the packaging. On each Sudafed PE product package, J&J touts in all-cap,

red font on the front of the package that it is a decongestant providing “Maximum Strength” relief

for “Sinus Pressure” and “Sinus Congestion.” For example, the Sudafed PE: Sinus Congestion

product has the following label:




The Sudafed PE: Sinus Pressure + Pain product has similar label, with similar claims, and also

falsely touts “Maximum Strength” as to its second active ingredient, acetaminophen, as a pain

reliever and fever reducer:



                                                2
      Case:
         Case
            1:23-cv-13796
               MDL No. 3089
                          Document
                              Document
                                   #: 1 Filed:
                                        1-15 09/15/23
                                               Filed 09/18/23
                                                        Page 3 Page
                                                               of 34 PageID
                                                                     6 of 37 #:3




       5.      The brand name “Sudafed” gained prominence as a decongestant through—as the

name suggests—its use of pseudoephedrine. Sudafed PE borrows from this brand reputation, but

provides an ineffective, inferior active oral nasal decongestant ingredient in place of the original

one. By using the “Sudafed” label and portraying the product as a “Maximum Strength”

decongestant, J&J misleads consumers into believing Sudafed PE’s ingredients are suited to

providing the strongest decongestant relief available on the market, or at least offered under the

Sudafed brand name.

       6.      Despite marketing Sudafed PE as “Maximum Strength,” J&J knew the active nasal

decongestant ingredient in Sudafed PE, phenylephrine hydrochloride, was not as effective as a

decongestant. Indeed, studies have shown phenylephrine hydrochloride is no more effective than

a placebo. Additionally, the Sudafed PE: Sinus Pressure + Pain product does not even contain the

maximum dosages of phenylephrine hydrochloride available or acetaminophen deserving of the

“Maximum Strength” label and representation.




                                                 3
      Case:
         Case
            1:23-cv-13796
               MDL No. 3089
                          Document
                              Document
                                   #: 1 Filed:
                                        1-15 09/15/23
                                               Filed 09/18/23
                                                        Page 4 Page
                                                               of 34 PageID
                                                                     7 of 37 #:4




       7.        Thus, this “Maximum Strength” packaging is misleading because nasal

decongestants that are actually effective—without the “Maximum Strength” claim—are available,

both on the market and under the Sudafed brand name, and higher strength phenylephrine

hydrochloride products exists. For example, both oxymetazoline and pseudoephedrine are both

available without a prescription, and the former may be purchased over the counter.

       8.        Further, J&J well knew that higher doses of Tylenol, its brand name for

acetaminophen, exist on the market. The Court need look no further than its long-established

manufacturing and marketing of Tylenol as “Regular Strength” for 325 mg capsules and “Extra

Strength” for 500 mg capsules.

       9.        Despite this knowledge, J&J chose to mislead consumers through its promotion of

the Sudafed PE products, with and without acetaminophen, as a “Maximum Strength”

decongestant, pain reliever, and/or fever reducer.

       10.       Consumers, including Plaintiff, lack the scientific knowledge necessary to

determine whether Sudafed PE is a “Maximum Strength” decongestant, pain reliever, and/or fever

reducer, or to ascertain the true quality or strength of this product. For that reason, reasonable

consumers must and do rely on manufacturers, including J&J, to be honest and transparent and to

properly disclose on the packaging all material information regarding the products and the strength

of the dosage.

       11.       Rather than being honest and transparent, J&J makes this “Maximum Strength”

representation in a knowingly false and deceptive manner.

       12.       For all the reasons set forth herein, including but not limited to J&J’s

misrepresentations and omissions regarding its “Maximum Strength” claims, Plaintiff seeks relief

in this action individually, and as a class action on behalf of similarly situated purchasers of J&J’s

                                                  4
      Case:
         Case
            1:23-cv-13796
               MDL No. 3089
                          Document
                              Document
                                   #: 1 Filed:
                                        1-15 09/15/23
                                               Filed 09/18/23
                                                        Page 5 Page
                                                               of 34 PageID
                                                                     8 of 37 #:5




Sudafed PE products, for: (1) violation of state consumer protection laws; (2) warranty law; and

(3) unjust enrichment.

                                           THE PARTIES

        13.     Plaintiff is a citizen of Illinois, residing in Kane County. She purchased Sudafed

PE Sinus Congestion within the applicable statute of limitations period, most recently on or about

November 2022.

        14.     J&J is a New Jersey corporation with its principal place of business in Skillman,

New Jersey.

                                  JURISDICTION AND VENUE

        15.     This Court has personal jurisdiction over J&J in this matter. The acts and omissions

giving rise to this action occurred in the state of Illinois. J&J has been afforded due process because

it has, at all times relevant to this matter, individually or through its agents, subsidiaries, officers

and/or representatives, operated, conducted, engaged in and carried on a business venture in this

state and/or maintained an office or agency in this state, and/or marketed, advertised, distributed

and/or sold Sudafed PE products in this state, committed a statutory violation within this state

related to the allegations made herein, and caused injuries to Plaintiff and putative Class Members,

which arose out of the acts and omissions that occurred in the state of Illinois, during the relevant

time period, at which time J&J was engaged in business activities in the state of Illinois.

        16.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.§

1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or more putative Class

Members, (ii) the aggregate amount in controversy exceeds $5,000,000, exclusive of interest and

costs, and (iii) there is minimal diversity because at least one Plaintiff and J&J are citizens of

different states.

                                                   5
      Case:
         Case
            1:23-cv-13796
               MDL No. 3089
                          Document
                              Document
                                   #: 1 Filed:
                                        1-15 09/15/23
                                               Filed 09/18/23
                                                        Page 6 Page
                                                               of 34 PageID
                                                                     9 of 37 #:6




       17.     Pursuant to 28 U.S.C. § 1391(a), venue is proper because a substantial part of the

events giving rise to the claims asserted occurred in this District. Venue is also proper pursuant to

28 U.S.C. § 1391(c) because J&J conducts substantial business in this District, has sufficient

minimum contacts with this District, and otherwise purposely avails itself of the markets in this

District, through the promotion, sale, and marketing of the Sudafed PE products in this District.

Furthermore, Plaintiff resides in this District.

                       FACTS COMMON TO ALL CLASS MEMBERS

       18.     J&J is one of the largest multinational pharmaceutical and medical technologies

companies in the world. As such, J&J markets several OTC drugs, including the Sudafed branded

line of products.

       19.     Phenylephrine hydrochloride is the active ingredient in J&J’s Sudafed PE products

for nasal decongestion. Acetaminophen is the active ingredient in one of the Products that is the

subject of this action as a pain reliever and fever reducer. When included, both form the basis for

J&J’s “Maximum Strength” misrepresentations on the Sudafed PE products’ packaging, and

overall advertising and marketing campaign.

       20.     At all relevant times, J&J has marketed its Products in a consistent and uniform

manner nationwide.

       21.     As alleged above, the Sudafed PE products represent that they are “MAXIMUM

STRENGTH” relief for “Sinus Pressure” and “Sinus Congestion,” and sometime as a “Pain

Reliever/Fever Reducer,” representations which predominately appear on the front label of the

Products in all-cap bold, red lettering that contrasts with the background of the packaging. This

instantly catches the eye of all reasonable consumers, including Plaintiff and Class Members.



                                                   6
      Case:
         Case
            1:23-cv-13796
               MDL No. 3089
                          Document
                             Document
                                   #: 1 1-15
                                        Filed: 09/15/23
                                               Filed 09/18/23
                                                        Page 7Page
                                                               of 34 10
                                                                     PageID
                                                                        of 37 #:7




       22.     A reasonable consumer would understand that “MAXIMUM STRENGTH” relief

for “Sinus Pressure” and “Sinus Congestion” means the Sudafed PE products contained the best

and highest dose of nasal decongestant. Similarly, that reasonable consumer would understand

“MAXIMUM STRENGTH” for “Pain Reliever/Fever Reducer” to mean the product contained the

best and highest dose of pain reliever and fever reducer. Indeed, J&J confirms on its website what

reasonable consumers would expect—the promise that the Sudafed PE Products contain the

“Maximum strength sinus decongestant for fast, yet powerful relief from sinus pressure & nasal

congestion. Each caplet contains phenylephrine HCl decongestant for effective, non-drowsy

symptom relief.” See https://www.sudafed.com/products/sudafed-pe-sinus-congestion# (emphasis

added). J&J confirms on its website that Sudafed PE Sinus Pressure + Pain as a “Non-drowsy

decongestant provides powerful relief of sinus congestion and pressure with pain, plus headaches.

Each maximum strength tablet contains acetaminophen for pain relief and phenylephrine HCI.”

See https://www.sudafed.com/products/sudafed-pe-sinus-pressure-pain (emphasis added).

       23.     All reasonable consumers, including Plaintiff, read and relied on J&J’s “Maximum

Strength”    representations   when   purchasing    the   Products.   Indeed,   when   purchasing

pharmaceuticals, consumers often look for a product with the highest dosage and most effective

active ingredients possible and are hence willing to pay a premium with such representations.

       24.     J&J’s “Maximum Strength” representation was material to Plaintiff and Class

Members’ decision to purchase Sudafed PE. Had consumers, such as Plaintiff, known the Products

were not “Maximum Strength” relief for “Sinus Pressure” and “Sinus Congestion,” they would

not have purchased them. Indeed, the only reason consumers purchase pharmaceuticals is for their

advertised therapeutic effect. They want relief from their cold symptoms, and in this case the



                                                7
      Case:
         Case
            1:23-cv-13796
               MDL No. 3089
                          Document
                             Document
                                   #: 1 1-15
                                        Filed: 09/15/23
                                               Filed 09/18/23
                                                        Page 8Page
                                                               of 34 11
                                                                     PageID
                                                                        of 37 #:8




Plaintiff and the class members purchased “Maximum Strength” based on J&J’s false

representations and omissions.

       25.     J&J’s marketing efforts are made in order to—and do in fact—induce consumers

to purchase the products at a premium because consumers believe they are getting “Maximum

Strength” decongestants. This deceives consumers because they are not informed that

phenylephrine hydrochloride nasal decongestants are inferior to other, available decongestants.

       26.     J&J, however, has at all relevant times been well aware that its Sudafed PE products

are not “Maximum Strength” nasal decongestants and that other decongestants that are not

promised to be “Maximum Strength” with superior effectiveness are available.

       27.     Starting in December 2007, the FDA convened a Nonprescription Drugs Advisory

Committee (“NDAC”) meeting, to address questions about phenylephrine’s purported

effectiveness. On September 11 and 12, 2023, an advisory panel of the FDA met again to present

its findings on scientific literature presented as to the effectiveness of phenylephrine hydrochloride

(referred to by the FDA as “PE”) as an oral nasal decongestant. The panel found: “[W]e have now

come to the initial conclusion that orally administered PE is not effective as a nasal decongestant

at the monographed dosage (10 mg of PE hydrochloride every 4 hours) as well as at doses up to

40 mg (dosed every 4 hours).”

       28.     In 2015, in a well-publicized fashion, further independent research was submitted

to the FDA requesting the PE be reclassified as not effective as a nasal decongestant.

       29.     As a leading manufacturer of phenylephrine hydrochloride oral nasal

decongestants, J&J knew or should have known of the same scientific literature reviewed by the

FDA. Nonetheless, it represents that the Sudafed PE products are Maximum Strength. This is

particularly misleading because J&J offers other Sudafed-branded nasal decongestants, which

                                                  8
      Case:
         Case
            1:23-cv-13796
               MDL No. 3089
                          Document
                             Document
                                   #: 1 1-15
                                        Filed: 09/15/23
                                               Filed 09/18/23
                                                        Page 9Page
                                                               of 34 12
                                                                     PageID
                                                                        of 37 #:9




contain effective active ingredients, such as pseudoephedrine, which are not marketed as

““Maximum Strength” relief for “Sinus Pressure” and “Sinus Congestion.”            Accordingly,

consumers are induced into purchasing the Sudafed PE products, based on the “Maximum

Strength” representation, when comparing it to other Sudafed-branded and competing nasal

decongestants.

       30.       However, the Sudafed PE: Sinus Pressure + Pain product’s “Maximum Strength”

relief for “Sinus Pressure + Congestion” representation is misleading for another reason. As the

back label of the Sudafed PE: Sinus Pressure + Pain product discloses, the only active ingredient

for “Nasal decongestant” is 5 mg of “Phenylephrine HCL” per dose, which is half the dosage

prescribed in the FDA monograph covering oral nasal decongestants:




       31.       This is misleading because Defendant’s other phenylephrine-based Sudafed

products contain 10 mg of phenylephrine hydrochloride. For example, the Sudafed PE: Sinus

Congestion offers 10 mg of phenylephrine per dose. Accordingly, the Sudafed PE: Sinus Pressure




                                               9
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 10Page
                                                             of 34 13
                                                                   PageID
                                                                      of 37 #:10




+ Pain does not even contain the maximum dosage of phenylephrine allowable by FDA. Thus, the

“Maximum Strength” claim is literally false based on FDA’s allowable limits.

       32.     Nonetheless, because the Sudafed PE products contain phenylephrine as the only

active oral nasal decongestant ingredient, they are not “Maximum Strength” relief for “Sinus

Pressure” and “Sinus Congestion.” Phenylephrine is not the “Maximum Strength” nasal

decongestant available on the market. Even Defendant offers other Sudafed-branded decongestant

with higher strength and more effective active decongestant ingredients.

       33.     Further, the Sudafed PE: Sinus Pressure + Pain product’s “Maximum Strength”

relief for “Sinus Pressure + Congestion” representation is misleading for yet another reason,

because the only active ingredient for “Pain Reliever/Fever Reducer” is 325 mg of acetaminophen,

which is the equivalent of a “Regular Strength” Tylenol tablet. Thus, the strength of the

acetaminophen is far below anything can be considered “Maximum Strength,” or as J&J calls it

“Extra Strength.”

       34.     J&J intended for Plaintiff and Class Members to be deceived or mislead by its

misrepresentations and omissions. Indeed, label space is limited, so manufacturers only place the

most pertinent information on the front label. J&J specifically labeled and marketed the Sudafed

PE products as “Maximum Strength” relief for “Sinus Pressure” and “Sinus Congestion,” and

sometimes “Pain Reliever/Fever Reducer” when other Sudafed-branded oral nasal decongestants

were not marketed in a similar fashion.

       35.     J&J’s deceptive and misleading practices proximately caused harm to Plaintiff and

the Classes.

       36.     Plaintiff and Class Members would not have purchased the Sudafed PE products or

would have paid less for them, had they known the truth about the mislabeled and falsely

                                               10
      Case:Case
            1:23-cv-13796
                MDL No. 3089
                          Document
                              Document
                                   #: 1 Filed:
                                         1-15 09/15/23
                                               Filed 09/18/23
                                                       Page 11Page
                                                               of 34 14
                                                                     PageID
                                                                        of 37 #:11




advertised products. Indeed, other nasal decongestants, with more effective ingredients and

dosages, are available on the market for less.

                            PLAINTIFF’S FACTUAL ALLEGATIONS

        37.    Plaintiff relied on the Sudafed PE “Maximum Strength” label in deciding to

purchase what she believed to be an effective nasal decongestant. Had Plaintiff known that

phenylephrine, the only active oral nasal decongestant ingredient in Sudafed PE, is not the

“Maximum Strength” nasal decongestant available on the market, she would not have purchased

it.

        38.    Plaintiff resides in Batavia, Illinois and is a citizen of Illinois. Throughout the

relevant period, Plaintiff purchased the Products at issue in this lawsuit and was exposed to and

reasonably relied upon J&J’s “Maximum Strength” representations. Specifically, Plaintiff

purchased Sudafed PE: Sinus Congestion from a local Walmart located at 801 N Randall Rd,

Batavia, IL 60510 within the last three months. Upon purchase, Plaintiff reviewed the Product

packaging, including the front-label representations, and reasonably believed from these

representations that the Products were “Maximum Strength”. In reasonable reliance on these

representations, Plaintiff paid an increased cost for the Product, which were worth less than

represented because the statements were not true and were highly misleading. The Maximum

Strength representation on the Product packaging, was part of the basis of the bargain in that

Plaintiff attributed value to those representations and Plaintiff would not have purchased the

Products, or would not have purchased them on the same terms, if she knew the Maximum Strength

representation was untrue and/or misleading. Plaintiff paid a price premium for empty promises

that J&J did not keep. Had Plaintiff been aware that the Maximum Strength representation made



                                                 11
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 12Page
                                                             of 34 15
                                                                   PageID
                                                                      of 37 #:12




by J&J on the Products was untrue, she would have paid less for the Products, or would not have

purchased them at all.

                               FED. R. CIV. P. 9(B) ALLEGATIONS

       39.     J&J made material misrepresentations and/or omissions of fact in its labeling and

marketing of the Sudafed PE products by representing that they are “Maximum Strength”

decongestant and pain reliever/fever reducer products.

       40.     J&J’s alleged conduct was and continues to be fraudulent because it has the effect

of deceiving consumers into believing that the Sudafed PE products are “Maximum Strength” oral

nasal decongestant products. J&J omitted from Plaintiff and Class Members that the Sudafed PE

products are not “Maximum Strength” oral nasal decongestant products because other

decongestant products exist in the market that are much more effective as decongestants. J&J knew

or should have known this information is material to all reasonable consumers and impacts

consumers’ purchasing decisions. Yet, J&J has and continues to represent that the Sudafed FE

products are “Maximum Strength” oral nasal decongestant products when they are not, and has

omitted from the products’ labeling the fact that there are other prescription products available in

the market that are superior decongestants. All of that is also true as to its representation that

Sudafed PE: Sinus Pressure + Pain is a “Maximum Strength” pain reliever/fever reducer, even

though its acetaminophen content is only regular strength.

       41.     J&J made material misrepresentations and/or omissions detailed herein, including

that the Sudafed PE products are “Maximum Strength” oral nasal decongestant and pain

reliever/fever reducer products, continuously throughout the applicable class period(s).

       42.     J&J’s material misrepresentations and omissions, that the Sudafed PE products are

“Maximum Strength” oral nasal decongestant and pain reliever/fever reducer products, were

                                                12
      Case:Case
            1:23-cv-13796
                MDL No. 3089
                          Document
                              Document
                                   #: 1 Filed:
                                         1-15 09/15/23
                                               Filed 09/18/23
                                                       Page 13Page
                                                               of 34 16
                                                                     PageID
                                                                        of 37 #:13




located on the front label of the Sudafed PE products in all-cap, bold red lettering that contrasts

with the background of the packaging, which instantly catches the eye of all reasonable consumers,

including Plaintiff and Class Members, at the point of sale in every transaction. The Sudafed PE

products are sold in J&J’s brick and mortar stores and online stores in Illinois and nationwide.

        43.    J&J made written misrepresentations of fact on the front label of the Sudafed PE

products, that the products were “Maximum Strength” oral nasal decongestant products, even

though other stronger decongestant products are available in the market. As such, J&J’s

“Maximum Strength” representations are false and misleading. Moreover, J&J omitted from the

Sudafed PE products’ labeling the fact that there are other prescription products available in the

market that are more effective decongestants and pain relievers/fever reducers. And as alleged in

detail throughout this Complaint, Plaintiff read and relied on J&J’s “Maximum Strength”

representations and omissions before purchasing the products.

        44.    J&J misrepresented its Sudafed PE products as being “Maximum Strength”

decongestant products and omitted from the products’ labeling the fact that there are other, non-

prescription products available in the market that are effective decongestants, for the express

purpose of inducing Plaintiff and Class Members to purchase the inferior phenylephrine

hydrochloride products at a price premium. As such, J&J profited by selling the misrepresented

products to at least thousands of consumers throughout the nation.

                              CLASS ACTION ALLEGATIONS

        45.    Plaintiff brings this action on behalf of herself and the following “Classes” pursuant

to Federal Rule of Civil Procedure 23(a), (b)(2) and/or (b)(3). Specifically, the Classes are defined

as:



                                                 13
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 14Page
                                                             of 34 17
                                                                   PageID
                                                                      of 37 #:14




       Nationwide Class: All persons in the United States who purchased the Products in
       the United States for personal use and not for resale during the applicable statute of
       limitations period.

       Multi-State Consumer Protection Class: All persons who purchased in the State
       of Illinois or any state with similar laws 1 any of the Products, within the applicable
       statute of limitations, until the date notice is disseminated.
       Illinois Subclass: All persons in the State of Illinois who purchased the Products
       in the State of Illinois for personal use and not for resale during the applicable
       statute of limitations period.

       46.     Excluded from the Classes are (a) any person who purchased the Sudafed PE

products for resale and not for personal or household use, (b) any person who signed a release of

any J&J in exchange for consideration, (c) any officers, directors or employees, or immediate

family members of the officers, directors or employees, of any J&J or any entity in which a J&J

has a controlling interest, (d) any legal counsel or employee of legal counsel for J&J, and (e) the

presiding Judge in this lawsuit, as well as the Judge’s staff and their immediate family members.

       47.     Plaintiff reserves the right to amend the definition of the Classes if discovery or

further investigation reveals that the Classes should be expanded or otherwise modified.

       48.     Numerosity – Federal Rule of Civil Procedure 23(a)(1). Class Members are so

numerous and geographically dispersed that joinder of all Class Members is impracticable. While




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   While discovery may alter the following, Plaintiff asserts that the other states with similar
consumer fraud laws under the facts of this case include, but are not limited to: California (Cal.
Bus. & Prof. Code § 17200, et seq.); Florida (Fla. Stat. §§ 501.201, et seq.); Illinois (815 ICLS §§
505/1, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.); Michigan (Mich. Comp. Laws
§§ 445.901, et seq.); Minnesota (Minn. Stat. §§ 325F.67, et seq.); New Jersey (N.J. Stat. §§ 56:8-
1, et seq.); New York (N.Y. Gen. Bus. Law §§ 349, et seq.); Washington (Wash. Rev. Code §§
19.86.010, et seq.); See Mullins v. Direct Digital, LLC, No. 13-cv-1829, 2014 WL 5461903 (N.D.
Ill. Sept. 30, 2014), aff’d, 795 F.3d 654 (7th Cir. 2015).

                                                 14
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 15Page
                                                             of 34 18
                                                                   PageID
                                                                      of 37 #:15




the exact number of Class Members remains unknown at this time, upon information and belief,

there are thousands, if not hundreds of thousands, of putative Class Members.

       49.       Predominance of Common Questions of Law and Fact – Federal Rule of Civil

Procedure 23(a)(2) and 23(b)(3). Common questions of law and fact exist as to all Class Members

and predominate over any questions affecting only individual Class Members. These common

legal and factual questions include, but are limited to, the following:

       a. Whether J&J made the “MAXIMUM STRENGTH” representations;

       b. Whether J&J promoted the Sudafed PE products with false and misleading statements

             of fact and material omissions;

       c. Whether J&J’s “MAXIMUM STRENGTH” representations are deceptive, unfair, or

             misleading to the reasonable consumer;

       d. Whether J&J’s actions and/or omissions violate applicable laws;

       e. Whether J&J’s conduct is a breach of warranty;

       f. Whether Plaintiff and putative members of the Classes have suffered a loss of monies

             or property or other value as a result of J&J’s acts, omissions, or misrepresentations of

             material facts;

       g. Whether J&J’s was unjustly enriched at the expense of Plaintiff and members of the

             putative Classes in connection with the Sudafed PE products;

       h. Whether Plaintiff and members of the putative Classes are entitled to monetary

             damages or statutory damages and, if so, the nature of such relief; and

       i. Whether Plaintiff and members of the putative Classes are entitled to equitable,

             declaratory, or injunctive relief and, if so, the nature of such relief.



                                                    15
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 16Page
                                                             of 34 19
                                                                   PageID
                                                                      of 37 #:16




       50.     Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of those of the absent Class Members in that Plaintiff and the Class Members each

purchased and used the Sudafed PE products and each sustained damages arising from J&J’s

wrongful conduct, as alleged more fully herein. Plaintiff shares the aforementioned facts and legal

claims or questions with putative members of the Classes, and Plaintiff and all members of the

putative Classes have been similarly affected by J&J’s common course of conduct alleged herein.

Plaintiff and all members of the putative Classes sustained monetary and economic injuries

including, but not limited to, ascertainable loss arising out of J&J’s false and deceptive “Maximum

Strength” representations about the Sudafed PE products, as alleged herein.

       51.     Adequacy – Federal Rule of Civil Procedure 23(a)(4). Plaintiff will fairly and

adequately represent and protect the interests of the members of the putative Classes. Plaintiff

has retained counsel with substantial experience in handling complex class action litigation,

including complex questions that arise in this type of consumer protection litigation. Further,

Plaintiff and their counsel are committed to the vigorous prosecution of this action. Plaintiff does

not have any conflicts of interest or interests adverse to those of putative Classes.

       52.     Insufficiency of Separate Actions – Federal Rule of Civil Procedure 23(b)(1).

Absent a class action, Plaintiff and members of the Classes will continue to suffer the harm

described herein, for which they would have no remedy. Even if separate actions could be brought

by individual consumers, the resulting multiplicity of lawsuits would cause undue burden and

expense for both the Court and the litigants, as well as create a risk of inconsistent rulings and

adjudications that might be dispositive of the interests of similarly situated consumers,

substantially impeding their ability to protect their interests, while establishing incompatible



                                                 16
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 17Page
                                                             of 34 20
                                                                   PageID
                                                                      of 37 #:17




standards of conduct for J&J. Accordingly, the proposed Classes satisfy the requirements of Fed.

R. Civ. P. 23(b)(1).

       53.      Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).

J&J has acted or refused to act on grounds generally applicable to Plaintiff and all members of the

Classes, thereby making appropriate final injunctive relief and declaratory relief, as described

below, with respect to the members of the Classes as a whole. In particular, J&J has marketed,

advertised, distributed and sold the Sudafed PE products containing the products’ “MAXIMUM

STRENGTH” representations, which are false and misleading, and continues to do so.

       54.      Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is superior

to any other available methods for the fair and efficient adjudication of the present controversy for

at least the following reasons:

       a. The damages suffered by each individual member of the putative Classes do not justify

             the burden and expense of individual prosecution of the complex and extensive

             litigation necessitated by J&J’s conduct;

       b. Even if individual members of the Classes had the resources to pursue individual

             litigation, it would be unduly burdensome to the courts in which the individual

             litigation would proceed;

       c. The claims presented in this case predominate over any questions of law or fact

             affecting individual members of the Classes;

       d. Individual joinder of all members of the Classes is impracticable;

       e. Absent a class, Plaintiff and members of the putative Classes will continue to suffer

             harm as a result of J&J’s unlawful conduct; and

       f. This action presents no difficulty that would impede its management by the Court as a

                                                 17
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 18Page
                                                             of 34 21
                                                                   PageID
                                                                      of 37 #:18




             class action, which is the best available means by which Plaintiff and members of the

             putative Classes can seek redress for the harm caused by J&J.

       g. In the alternative, the Classes may be certified for the following reasons:

              (1) The prosecution of separate actions by individual members of the Classes would

                  create a risk of inconsistent or varying adjudication with respect to individual

                  members of the Classes, which would establish incompatible standards of

                  conduct for J&J;

              (2) Adjudications of claims of the individual members of the Classes against J&J

                  would, as a practical matter, be dispositive of the interests of other members of

                  the putative Classes who are not parties to the adjudication and may substantially

                  impair or impede the ability of other putative Class Members to protect their

                  interests; and

              (3) J&J has acted or refused to act on grounds generally applicable to the members

                  of the putative Classes, thereby making appropriate final and injunctive relief

                  with respect to the putative Classes as a whole.

                                     CLAIMS FOR RELIEF

                                          COUNT ONE
                                   Breach of Express Warranty
                         (By Plaintiff on Behalf of the Nationwide Class
                           or, in the Alternative, the Illinois Subclass)

       55.      Plaintiff incorporates paragraphs 1-56 as if fully set forth herein.

       56.      Plaintiff brings this cause of action on behalf of herself, the Nationwide Class,

and/or the Illinois Subclass against J&J.

       57.      Plaintiff and Class Members formed a contract with Defendant at the time Plaintiff

and class members purchased the Sudafed PE products.
                                            18
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 19Page
                                                             of 34 22
                                                                   PageID
                                                                      of 37 #:19




         58.      The terms of the contract include the promises and affirmations of fact made by

Defendant on the Sudafed PE packaging and through marketing and advertising, as described

above.

         59.      This labeling, marketing, and advertising constitute express warranties and became

part of the basis of the bargain and are part of the standardized contract with Plaintiff and class

members.

         60.      As set forth above, Defendant purports, through its advertising, labeling, marketing,

and packaging, to create an express warranty that the Sudafed PE products are “Maximum

Strength” relief for “Sinus Pressure” and “Sinus Congestion,” and “Pain Reliever/Fever Reducer.”

         61.      The above affirmations of fact were not couched as “belief” or “opinion,” and were

not “generalized statements of quality not capable of proof or disproof.”

         62.      These affirmations of fact became part of the basis for the bargain and were material

to Plaintiff’s and Class Members’ decision to purchase the Sudafed PE.

         63.      Plaintiff and Class Members reasonably relied upon Defendant’s affirmations of

fact and justifiably acted in ignorance of the material facts omitted or concealed when they decided

to buy Sudafed PE.

         64.      Plaintiff and Class Members performed all conditions precedent to Defendant’s

liability under this contract when they purchased the Sudafed PE.

         65.      Defendant thereby breached the following state warranty laws:

         •     Code of Ala. § 7-2-313;

         •     Alaska Stat. § 45.02.313;

         •     A.R.S. § 47-2313;

         •     A.C.A. § 4-2-313;
                                                   19
Case:Case
      1:23-cv-13796
          MDL No. 3089
                    Document
                        Document
                             #: 1 Filed:
                                   1-15 09/15/23
                                         Filed 09/18/23
                                                 Page 20Page
                                                         of 34 23
                                                               PageID
                                                                  of 37 #:20




  •   Cal. Comm. Code § 2313;

  •   Colo. Rev. Stat. § 4-2-313;

  •   Conn. Gen. Stat. § 42a-2-313;

  •   6 Del. C. § 2-313;

  •   D.C. Code § 28:2-313;

  •   Fla. Stat. § 672.313;

  •   O.C.G.A. § 11-2-313;

  •   H.R.S. § 490:2-313;

  •   Idaho Code § 28-2-313;

  •   810 I.L.C.S. 5/2-313;

  •   Ind. Code § 26-1-2-313;

  •   Iowa Code § 554.2313;

  •   K.S.A. § 84-2-313;

  •   K.R.S. § 355.2-313;

  •   11 M.R.S. § 2-313;

  •   Md. Commercial Law Code Ann. § 2-313;

  •   106 Mass. Gen. Laws Ann. § 2-313;

  •   M.C.L.S. § 440.2313;

  •   Minn. Stat. § 336.2-313;

  •   Miss. Code Ann. § 75-2-313;

  •   R.S. Mo. § 400.2-313;

  •   Mont. Code Anno. § 30-2-313;

                                      20
Case:Case
      1:23-cv-13796
          MDL No. 3089
                    Document
                        Document
                             #: 1 Filed:
                                   1-15 09/15/23
                                         Filed 09/18/23
                                                 Page 21Page
                                                         of 34 24
                                                               PageID
                                                                  of 37 #:21




  •   Neb. Rev. Stat. § 2-313;

  •   Nev. Rev. Stat. Ann. § 104.2313;

  •   R.S.A. 382-A:2-313;

  •   N.J. Stat. Ann. § 12A:2-313;

  •   N.M. Stat. Ann. § 55-2-313;

  •   N.Y. U.C.C. Law § 2-313;

  •   N.C. Gen. Stat. § 25-2-313;

  •   N.D. Cent. Code § 41-02-30;

  •   II. O.R.C. Ann. § 1302.26;

  •   12A Okl. St. § 2-313;

  •   Or. Rev. Stat. § 72-3130;

  •   13 Pa. Rev. Stat. § 72-3130;

  •   R.I. Gen. Laws § 6A-2-313;

  •   S.C. Code Ann. § 36-2-313;

  •   S.D. Codified Laws, § 57A-2-313;

  •   Tenn. Code Ann. § 47-2-313;

  •   Tex. Bus. & Com. Code § 2.313;

  •   Utah Code Ann. § 70A-2-313;

  •   9A V.S.A. § 2-313;

  •   Va. Code Ann. § 59.1-504.2;

  •   Wash. Rev. Code Ann. § 6A.2-313;

  •   W. Va. Code § 46-2-313;

                                         21
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 22Page
                                                             of 34 25
                                                                   PageID
                                                                      of 37 #:22




          •     Wis. Stat. § 402.313; and

          •     Wyo. Stat. § 34.1-2-313.

                                            COUNT TWO
                                      Breach of Implied Warranty
                       (By Plaintiff on Behalf of the Nationwide Class, or in the
                                   alternative, the Illinois Subclass)

          66.      Plaintiff incorporates paragraphs 1-56 as if fully set forth herein.

          67.      Plaintiff brings this cause of action on behalf of herself, the Nationwide Class,

and/or the Illinois Subclass against J&J.

          68.      Defendant was in the business of selling over-the-counter drugs at all times relevant

hereto.

          69.      Plaintiff and Class Members formed a contract with Defendant at the time Plaintiff

and Class Members purchased Sudafed PE.                   Implied in that contract was a warranty of

merchantability.

          70.      The implied warranty of merchantability means and includes that the goods will

comply with each of the following requirements: (1) they would pass without objection in the trade

under the contract description; (2) they are fit for the ordinary purposes for which such goods are

used; (3) they are adequately contained, packaged, and labeled; and (4) they conform to the

promises or affirmations of fact made on the container or label.

          71.      Here, the Sudafed PE products were labeled as “Maximum Strength” relief for

“Sinus Pressure” and “Sinus Congestion,” and for “Pain Reliever/Fever Reducer” but did not

conform to the promises or affirmations of fact made on the container or label.

          72.      Defendant thereby breached the following state warranty laws:

          •     Code of Ala. § 7-2-314;

          •     Alaska Stat. § 45.02.313;
                                                     22
Case:Case
      1:23-cv-13796
          MDL No. 3089
                    Document
                        Document
                             #: 1 Filed:
                                   1-15 09/15/23
                                         Filed 09/18/23
                                                 Page 23Page
                                                         of 34 26
                                                               PageID
                                                                  of 37 #:23




  •   A.R.S. § 47-2314;

  •   A.C.A. § 4-2-314;

  •   Cal. Comm. Code § 2314;

  •   Colo. Rev. Stat. § 4-2-314;

  •   Conn. Gen. Stat. § 42a-2-314;

  •   6 Del. C. § 2-314;

  •   D.C. Code § 28:2-314;

  •   Fla. Stat. § 672.314;

  •   O.C.G.A. § 11-2-314;

  •   H.R.S. § 490:2-314;

  •   Idaho Code § 28-2-314;

  •   810 I.L.C.S. 5/2-314;

  •   Ind. Code § 26-1-2-314;

  •   Iowa Code § 554.2314;

  •   K.S.A. § 84-2-314;

  •   K.R.S. § 355.2-314;

  •   11 M.R.S. § 2-314;

  •   Md. Commercial Law Code Ann. § 2-314;

  •   106 Mass. Gen. Laws Ann. § 2-314;

  •   M.C.L.S. § 440.2314;

  •   Minn. Stat. § 336.2-314;

  •   Miss. Code Ann. § 75-2-314;

                                      23
Case:Case
      1:23-cv-13796
          MDL No. 3089
                    Document
                        Document
                             #: 1 Filed:
                                   1-15 09/15/23
                                         Filed 09/18/23
                                                 Page 24Page
                                                         of 34 27
                                                               PageID
                                                                  of 37 #:24




  •   R.S. Mo. § 400.2-313;

  •   Mont. Code Anno. § 30-2-313;

  •   Neb. Rev. Stat. § 2-314;

  •   Nev. Rev. Stat. Ann. § 104.2314;

  •   R.S.A. 382-A:2-314;

  •   N.J. Stat. Ann. § 12A:2-314;

  •   N.M. Stat. Ann. § 55-2-314;

  •   N.Y. U.C.C. Law § 2-314;

  •   N.C. Gen. Stat. § 25-2-314;

  •   N.D. Cent. Code § 41-02-31;

  •   II. O.R.C. Ann. § 1302.27;

  •   12A Okl. St. § 2-314;

  •   Or. Rev. Stat. § 72-3140;

  •   13 Pa. Rev. Stat. § 72-314;

  •   R.I. Gen. Laws § 6A-2-314;

  •   S.C. Code Ann. § 36-2-314;

  •   S.D. Codified Laws, § 57A-2-314;

  •   Tenn. Code Ann. § 47-2-314;

  •   Tex. Bus. & Com. Code § 2.314;

  •   Utah Code Ann. § 70A-2-314;

  •   9A V.S.A. § 2-314;

  •   Va. Code Ann. § 59.1-504.3;

                                         24
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 25Page
                                                             of 34 28
                                                                   PageID
                                                                      of 37 #:25




       •     Wash. Rev. Code Ann. § 6A.2-314;

       •     W. Va. Code § 46-2-314;

       •     Wis. Stat. § 402.314; and

       •     Wyo. Stat. § 34.1-2-314.

                                        COUNT THREE
                                       Unjust Enrichment
                    (By Plaintiff on Behalf of the Nationwide Class, or in the
                                Alternative, the Illinois Subclass)

       73.      Plaintiff incorporates paragraphs 1-56 as if fully set forth herein.

       74.      Plaintiff brings this cause of action in the alternative on behalf of herself, the

Nationwide Class and/or the Illinois Subclass against J&J. It is alleged in the alternative to the

extent there is no adequate remedy at law.

       75.      Plaintiff and putative class members conferred a benefit on J&J when they

purchased Sudafed PE. By its wrongful acts and omissions described herein, including selling

Sudafed PE containing the “MAXIMUM STRENGTH” representations, which did not conform

to the promises or affirmations of fact made on the label, J&J was unjustly enriched at the expense

of Plaintiff and putative Class Members.

       76.      Plaintiff’s detriment and J&J’s enrichment were related to and flowed from the

wrongful conduct challenged in this Complaint.

       77.      J&J has profited from its unlawful, unfair, misleading, and deceptive practices at

the expense of Plaintiff and putative Class Members under circumstances in which it would be

unjust for J&J to be permitted to retain the benefit. It would be inequitable for J&J to retain the

profits, benefits, and other compensation obtained from their wrongful conduct as described herein

in connection with selling Sudafed PE.


                                                  25
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 26Page
                                                             of 34 29
                                                                   PageID
                                                                      of 37 #:26




       78.     J&J has been unjustly enriched in retaining the revenues derived from Class

Members’ purchases of Sudafed PE, which retention of such revenues under these circumstances

is unjust and inequitable because J&J marketed, advertised, distributed, and sold the products, and

J&J misrepresented the nature of the products, misrepresented their benefits and attributes, and

knowingly marketed and promoted the products with “MAXIMUM STRENGTH” representations,

which caused injuries to Plaintiff and the class members because they would not have purchased

the products based on the same representations if the true facts concerning the Sudafed PE products

had been known.

       79.     Plaintiff and putative class members have been damaged as a direct and proximate

result of J&J’s unjust enrichment because they would not have purchased the Sudafed PE products

on the same terms or for the same price had they known the true nature of the Sudafed PE products

and the misstatements regarding the strength of the Sudafed PE products’ active ingredient.

       80.     J&J either knew or should have known that payments rendered by Plaintiff and

putative class members were given and received with the expectation that the “MAXIMUM

STRENGTH” representations made by J&J in advertising, on J&J’s websites, and on the Sudafed

PE labels and packaging were true. It is inequitable for J&J to retain the benefit of payments under

these circumstances because the “MAXIMUM STRENGTH” representations are not true.

       81.     Plaintiff and putative Class Members are entitled to recover from J&J all amounts

wrongfully collected and improperly retained by J&J.

       82.     As a direct result of J&J’s wrongful conduct and unjust enrichment, Plaintiff and

putative Class Members are entitled to restitution of, disgorgement of, and/or imposition of a

constructive trust upon all profits, benefits, and other compensation obtained by J&J for their

inequitable and unlawful conduct.

                                                26
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 27Page
                                                             of 34 30
                                                                   PageID
                                                                      of 37 #:27




                                         COUNT FOUR
             VIOLATION OF STATE CONSUMER PROTECTION STATUTES
             (By Plaintiff on Behalf of the Multi-State Consumer Protection Class)

       83.      Plaintiff incorporates paragraphs 1-56 as if fully set forth herein.

       84.      Plaintiff brings this cause of action on behalf of herself and the Multi-State

Consumer Protection Class.

       85.      Plaintiff and Multi-State Consumer Protection Class members have been injured as

a result of J&J’s violations of the state consumer protection statutes listed above in paragraph 47

and footnote 1, which also provide a basis for redress to Plaintiff and Multi-State Consumer Class

Members based on J&J’s fraudulent, deceptive, unfair and unconscionable acts, practices and

conduct.

       86.      J&J’s conduct as alleged herein violates the consumer protection, unfair trade

practices, and deceptive acts laws of each of the jurisdictions encompassing the Multi-State

Consumer Class.

       87.      J&J violated the Multi-State Consumer Class states’ consumer protection, unfair

trade practices, and deceptive acts laws through its misleading and deceptive advertising that

represented that the Sudafed PE products were MAXIMUM STRENGTH.” J&J chose to package

and market the products in this way to impact consumer choices and gain market dominance, as it

knew or should have known that all consumers who purchased the products would be impacted by

its omissions and would reasonably believe J&J’s false and misleading “MAXIMUM

STRENGTH” representations and omissions.

       88.      J&J’s misrepresentations were material to Plaintiff and Multi-State Consumer

Class members’ decision to purchase the Products or pay a premium for the Products.



                                                  27
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 28Page
                                                             of 34 31
                                                                   PageID
                                                                      of 37 #:28




       89.     J&J made its untrue and/or misleading statements and representations willfully,

wantonly, and with reckless disregard for the truth.

       90.     As a result of J&J’s violations of the aforementioned states’ unfair and deceptive

practices laws, Plaintiff and Multi-State Consumer Class members paid a premium for the

Products.

       91.     As a result of J&J’s violations, J&J has been unjustly enriched.

       92.     Pursuant to the alleged consumer protection, unfair trade practices, and deceptive

acts laws, Plaintiff and Multi-State Consumer Class members are entitled to recover compensatory

damages, restitution, punitive and special damages including but not limited to statutory or treble

damages, reasonable attorneys’ fees and costs, and other injunctive or declaratory relief as deemed

appropriate or permitted pursuant to the relevant law.

                                    COUNT FIVE
                         VIOLATION OF THE ILLINOIS
            CONSUMER FRAUD AND DECEPTIVE TRADE PRACTICES ACT
                   (By Plaintiff on Behalf of the Illinois Subclass)

       93.     Plaintiff incorporates paragraphs 1-56 as if fully set forth herein.

       94.     Plaintiff brings this action on behalf of herself and the Illinois Subclass.

       95.     In Illinois, the “Consumer Fraud and Deceptive Business Practices Act” 815 Ill.

Comp. Stat. 505/1, et seq., prohibits “unfair methods of competition and unfair or deceptive acts

or practices, including but not limited to the use or employment of any deception, fraud, false

pretense, false promise, misrepresentation or the concealment, suppression or omission of any

material fact, with intent that others rely upon the concealment, suppression or omission of such

material fact or the use or employment of any practice described in Section 2 of the ‘Uniform

Deceptive Trade Practices Act’ . . . .”


                                                 28
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 29Page
                                                             of 34 32
                                                                   PageID
                                                                      of 37 #:29




       96.     Plaintiff and the Illinois Subclass members were injured by J&J’s deceptive

misrepresentations, concealments and omissions and these misrepresentations, concealments and

omissions were material and deceived Plaintiff and the Illinois Subclass. Because Plaintiff and the

Illinois Subclass members relied on J&J’s misrepresentations, concealments and omissions when

purchasing the Products, they were injured at the time of purchase.

       97.     J&J does business in Illinois, sells and distributes the Products in Illinois, and

engaged in deceptive acts and practices in connection with the sale of the Products in Illinois and

elsewhere in the United States.

       98.     The Products purchased by Plaintiff and the Illinois Subclass members were

“consumer items” as that term is defined under the Illinois Consumer Fraud Act.

       99.     J&J engaged in unfair and deceptive acts in violation of 815 Ill. Comp. Stat. 505/2

when it misrepresented and deceptively concealed, suppressed and/or omitted the material

information known to J&J as set forth above concerning its Products, which has caused damage

and injury to Plaintiff and the Illinois Subclass Members. Plaintiff and the Illinois Subclass

members were injured by J&J’s unfair and deceptive acts at the time of purchasing the Products.

       100.    J&J’s marking of Sudafed PE products violates this prohibition by deceiving

consumers into believing Sudafed PE is a “MAXIMUM STRENGTH” decongestant or pain

reliever/fever reducer.

       101.    J&J engaged in fraudulent and/or deceptive conduct, which creates a likelihood of

confusion or of misunderstanding in violation of this Section.

       102.    J&J engaged in misleading and deceptive advertising that represented that the

Sudafed PE products were MAXIMUM STRENGTH.” J&J chose to package and market the

products in this way to impact consumer choices and gain market dominance, as it knew or should

                                                29
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 30Page
                                                             of 34 33
                                                                   PageID
                                                                      of 37 #:30




have known that all consumers who purchased the products would be impacted by its omissions

and would reasonably believe J&J’s false and misleading “MAXIMUM STRENGTH”

representations and omissions.

       103.    J&J’s deceptive acts occurred in a course of conduct involving trade and commerce

in Illinois and throughout the United States.

       104.    J&J intended Plaintiff and the Illinois Subclass members to rely on its deceptive

acts when purchasing the Products.

       105.    J&J’s deceptive acts proximately caused actual injury and damage to Plaintiff and

the Illinois Subclass members at the time of purchase.

       106.    Plaintiff and the Illinois Subclass members would not have purchased, or would

have paid less for, the Products but for J&J’s material misrepresentations as described in this

Complaint.

                                       COUNT SIX
                            VIOLATION OF THE ILLINOIS
                   UNIFORM DECEPTIVE TRADE PRACTICES ACT
                      (By Plaintiff on Behalf of the Illinois Subclass)

       107.    Plaintiff incorporates paragraphs 1-56 as if fully set forth herein.

       108.    Plaintiff brings this action on behalf of herself and the Illinois Subclass.

       109.    The Illinois Deceptive Trade Practices Act (“UDTPA”), 815 Ill. Comp. Stat. 510/2,

et seq., prohibits “[u]nfair methods of competition and unfair or deceptive acts or practices,

including but not limited to the use or employment of any deception, fraud, false pretense, false

promise, misrepresentation or the concealment, suppression or omission of any material fact, with

intent that others rely upon the concealment, suppression or omission of such material fact.”

       110.    815 ILCS 510/2 provides in pertinent part that a “person engages in a deceptive

trade practice when, in the course of his or her business, vocation, or occupation,” the person does
                                                  30
     Case:Case
           1:23-cv-13796
               MDL No. 3089
                         Document
                             Document
                                  #: 1 Filed:
                                        1-15 09/15/23
                                              Filed 09/18/23
                                                      Page 31Page
                                                              of 34 34
                                                                    PageID
                                                                       of 37 #:31




any of the following: “(5) represents that goods or services have . . . uses, benefits or quantities

that they do not have . . .; (7) represents that goods or services are of a particular standard, quality,

or grade or that goods are a particular style or model, if they are of another; . . . [or] (12) engages

in any other conduct which similarly creates a likelihood of confusion or misunderstanding.”

        111.    J&J’s marking of Sudafed PE products violates this prohibition by deceiving

consumers into believing Sudafed PE is a “MAXIMUM STRENGTH” decongestant or pain

reliever/fever reducer.

        112.    J&J engaged in fraudulent and/or deceptive conduct, which creates a likelihood of

confusion or of misunderstanding in violation of this Section.

        113.    J&J engaged in misleading and deceptive advertising that represented that the

Sudafed PE products were MAXIMUM STRENGTH.” J&J chose to package and market the

products in this way to impact consumer choices and gain market dominance, as it knew or should

have known that all consumers who purchased the products would be impacted by its omissions

and would reasonably believe J&J’s false and misleading “MAXIMUM STRENGTH”

representations and omissions.

        114.    J&J intended that Plaintiff and each of the other Illinois Subclass members would

reasonably rely upon the material omissions concerning the true nature of the Sudafed PE products.

        115.    J&J’s concealment, omissions, and other deceptive conduct were likely to deceive

and cause misunderstanding and/or in fact caused Plaintiff and each of the other Illinois Subclass

members to be deceived about the true nature of the products.

        116.    J&J’s deceptive acts occurred in a course of conduct involving trade and commerce

in Illinois and throughout the United States.



                                                   31
    Case:Case
          1:23-cv-13796
              MDL No. 3089
                        Document
                            Document
                                 #: 1 Filed:
                                       1-15 09/15/23
                                             Filed 09/18/23
                                                     Page 32Page
                                                             of 34 35
                                                                   PageID
                                                                      of 37 #:32




       117.   J&J’s deceptive acts proximately caused actual injury and damage to Plaintiff and

the Illinois Subclass Members at the time of purchase.

       118.   Plaintiff and the Illinois Subclass Members would not have purchased, or would

have paid less for, the Products but for J&J’s material misrepresentations as described in this

Complaint.

       119.   J&J intended Plaintiff and the Illinois Subclass members to rely on its deceptive

acts when purchasing the Products.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated

 members of the Classes, prays for relief and judgment, including entry of an order:

              A.      Declaring that this action is properly maintained as a class action,

       certifying the proposed Classes, appointing Plaintiff as Class Representative and

       appointing Plaintiff’s counsel as Class Counsel;

              B.      Directing that J&J bear the costs of any notice sent to the Class(es);

              C.      Declaring that J&J must disgorge, for the benefit of the Class(es), all or

       part of the ill-gotten profits they received from the sale of the Sudafed PE products, or

       order J&J to make full restitution to Plaintiff’s and the members of the Class(es);

              D.      Awarding restitution and other appropriate equitable relief;

              E.      Granting an injunction against J&J to enjoin it from conducting its

       business through the unlawful, unfair, and fraudulent acts or practices set forth herein;

              F.      Granting an Order requiring J&J to fully and appropriately recall the

       products and/or to remove the claims on its website and elsewhere, including “Maximum

       Strength” representations regarding the Sudafed PE products;

                                                32
   Case:Case
         1:23-cv-13796
             MDL No. 3089
                       Document
                           Document
                                #: 1 Filed:
                                      1-15 09/15/23
                                            Filed 09/18/23
                                                    Page 33Page
                                                            of 34 36
                                                                  PageID
                                                                     of 37 #:33




            G.        Ordering a jury trial and damages according to proof;

            H.        Awarding Plaintiff and members of the Class(es) compensatory and

     punitive damages, or statutory damages, as provided by the applicable state consumer

     protection statutes invoked above;

            I.        Enjoining J&J from continuing to engage in the unlawful and unfair

     business acts and practices as alleged herein;

            J.        Awarding attorneys’ fees and litigation costs to Plaintiff and members of

     the Class(es);

            K.        Awarding civil penalties, prejudgment interest, and punitive damages as

     permitted by law; and

            L.        Ordering such other and further relief as the Court deems just and proper.

                                     JURY DEMAND

      Plaintiff demands a trial by jury of all claims in this Complaint so triable.

Dated: September 15, 2023                   Respectfully submitted,


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                                               33
Case:Case
      1:23-cv-13796
          MDL No. 3089
                    Document
                        Document
                             #: 1 Filed:
                                   1-15 09/15/23
                                         Filed 09/18/23
                                                 Page 34Page
                                                         of 34 37
                                                               PageID
                                                                  of 37 #:34




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                                    34
